  Case 3:19-md-02913-WHO               Document 4140-2      Filed 09/20/23     Page 1 of 4



                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA



 IN RE: JUUL LABS, INC., MARKETING SALES                    3:19-md-02913 (WHO)
 PRACTICE AND PRODUCTS LIABILITY
 LITIGATION
                                                            Hon. William H. Orrick
 This Document Relates to All Plaintiffs Identified in
 Exhibit A to JLI’s Notice of Motion and Second
 Motion to Dismiss with Prejudice Non-
 Communicating Plaintiffs’ Claims


                        AFFIDAVIT OF MORGAN M. MEADOR

I, MORGAN M. MEADOR, hereby declare and state as follows:

       1.     Personal Information. My name is Morgan M. Meador. I am a Partner at

BrownGreer     PLC,    located    at    250 Rocketts     Way,   Richmond,    Virginia   23231

(“BrownGreer”).

       2.     The Capacity and Basis of this Declaration. I am over the age of 21. Unless

otherwise noted, the matters set forth in this Declaration are based upon my personal

knowledge, information received from the parties in this proceeding (the “Parties”), and

information provided by my colleagues at BrownGreer.

       3.     BrownGreer’s Appointment as Settlement Administrator. On December 6,

2022, Juul Labs, Inc., and its successors and assigns (collectively “JLI”); and Plaintiffs’

Leadership in MDL No. 2913 and JCCP No. 5052 on behalf of all Personal Injury Plaintiffs,

and the JLI National Settlement Trust (together with JLI, the “Parties”) entered into a

Settlement Agreement to establish a program to resolve the actions, disputes and claims that

the settling Personal Injury Plaintiffs and their counsel have or could have asserted against

JLI and any other Released Party in respect of the Released Claims and Liabilities. Section

1.40 of the Settlement Agreement named BrownGreer as Personal Injury Settlement

Administrator (“Settlement Administrator”).

       4.     The Role of the Settlement Administrator. The Settlement Administrator’s

duties in this program include:

                                               1
  Case 3:19-md-02913-WHO             Document 4140-2            Filed 09/20/23   Page 2 of 4




             (a) Collecting and holding in escrow pending receipt of the Initial Personal

                Injury Settlement Amount into the Personal Injury Settlement Trust all

                Eligible Plaintiff Participation Forms and Releases submitted by Eligible

                Plaintiffs who wish to participate in the settlement program.

             (b) Providing a list of Personal Injury Opt-Outs and Non-Communicating

                Plaintiffs to JLI and Plaintiffs’ Leadership.

             (c) Sending Notices to Counsel for Eligible Plaintiffs who failed to submit

                complete Eligible Plaintiff Participation Forms and Releases.

        5.      The Purpose of this Declaration.         I submit this Declaration to detail

BrownGreer’s execution of a portion of the duties described above.

        6.      Non-Communicating Plaintiffs.        Sections 7.1 and 9.1 of the Settlement

Agreement required Counsel to produce a list of all Non-Communicating Plaintiffs to the

Settlement Administrator by May 15, 2023.

        7.      Upon receipt of the lists sent to us by Counsel, we compiled them into one

comprehensive list of Non-Communicating Plaintiffs, which we sent by email to JLI and

Plaintiffs’ Leadership on June 1, June 7, June 15, June 23, June 29, July 5, July 13, July 28,

August 11, and September 6, 2023.

        8.      In addition to sending a comprehensive list of Non-Communicating Plaintiffs to

JLI and Plaintiffs’ Leadership, we submitted Notices of Ineligibility to Non-Communicating

Plaintiffs. The Notice of Ineligibility provided each Plaintiff with a 10-day deadline to request

reconsideration and cure the deficiencies that led to the Notice.

        9.      In BrownGreer’s Settlement records, there are two plaintiffs named James

Cunningham. The first, in the matter of James Cunningham v. JUUL Labs, Inc., et al., 3:22-

cv-07990, is designated with Plaintiff ID MDL-8273. The second, in the matter of James

Cunningham v. JUUL Labs, Inc., et al., 3:22-cv-04018, is designated with Plaintiff ID MDL-

8274.




                                                2
  Case 3:19-md-02913-WHO            Document 4140-2         Filed 09/20/23     Page 3 of 4




       10.     On March 22, 2023, Plaintiffs’ Leadership provided BrownGreer with a copy of

the March 21, 2023 Order Granting JLI’s Motion to Dismiss with Prejudice for Failure to

Submit Discovery Required by Case Management Order No. 16 and asked us to match the cases

on Exhibit A with plaintiffs in the Settlement data. We matched the James Cunningham (3:22-

cv-07990) on Exhibit A with Plaintiff ID MDL-8273.

       11.     On June 1, 2023, BrownGreer identified Plaintiff ID MDL-8274 as Non-

Communicating. In that report and all Non-Communicating Plaintiff reports circulated

thereafter, BrownGreer identified Mr. Cunningham as a Non-Communicating Plaintiff using

the case number 3:22-cv-07990 provided in the list of Non-Communicating Plaintiffs Mr.

Cunningham’s Counsel sent to BrownGreer.

       12.     On or about August 7, 2023, JLI and Plaintiffs’ Leadership sought confirmation

that James Cunningham (3:22-cv-04018) was Non-Communicating. On August 9, 2023,

BrownGreer clarified that that James Cunningham (3:22-cv-04018) was a Non-Communicating

Plaintiff, while James Cunningham (3:22-cv-07990) was not a Non-Communicating Plaintiff,

but had his claim dismissed with prejudice by JLI for Plaintiff Fact Sheet deficiencies, rather

than for being a Non-Communicating Plaintiff. As of June 2, 2023, we have issued a Notice of

Ineligibility to Mr. Cunningham (3:22-cv-04018).

       13.     On September 6, 2023, BrownGreer circulated an updated list of Non-

Communicating Plaintiffs in which we (1) corrected the case number associated with James

Cunningham (MDL-8274) from 3:22-cv-07990 to 3:22-cv-04018; and (2) identified two

additional Non-Communicating Plaintiffs, Keyley Guerrero, in the matter of Keyley Guerrero

v. Juul Labs, Inc., et al., 3:22-cv-07588, and Emily Reardon, in the matter of Estate of Emily

Reardon, through its Administrator James P. Reardon v. Juul Labs, Inc., et al., 3:22-cv-04029.

       14.     The 10-day deadline to request reconsideration has expired for all Non-

Communicating Plaintiffs who received Notices of Ineligibility, including Mr. Cunningham

(3:22-cv-04018), Ms. Guerrero (3:22-cv-07588), and Ms. Reardon (3:22-cv-04029). To date,




                                              3
  Case 3:19-md-02913-WHO            Document 4140-2         Filed 09/20/23      Page 4 of 4




Mr. Cunningham (3:22-cv-04018), Ms. Guerrero (3:22-cv-07588), and Ms. Reardon (3:22-cv-

04029) have not requested reconsideration or cured the deficiencies that led to the Notice.

       I, Morgan M. Meador, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that the foregoing is true and correct to the best of my knowledge. Executed on this 19th

day of September, 2023.



                                             ______________________________

                                                        Morgan M. Meador




                                               4
